     Case 1:19-cv-01974-TNM Document 29-46 Filed 08/20/19 Page 1 of 2




                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA



COMMITTEE ON WAYS AND MEANS,
UNITED STATES HOUSE OF
REPRESENTATIVES,

                      Plaintiff,
                                            Case No. 1:19-cv-01974-TNM
     vs.

UNITED STATES DEPARTMENT OF THE
TREASURY, et al.,

                      Defendants.




                          Exhibit QQ
                                Case 1:19-cv-01974-TNM Document 29-46 Filed 08/20/19 Page 2 of 2
                                                                                                                         KEVIN BOADY.
      RICHl\110 E NEI\L
      MASSACHUSETIS
           CHI\IRM/IN
                                             Ct.Congress of tfJe Wniteb ,i)tntes                                              TE><AS
                                                                                                                     PMIKING MEMBER

JOH~ lfWIS C.FORt...1.A
UOl'O tlUGGEll lfX.s
                                                  11 .~. ll)ousr of ll\rprrsrnt'1tturs                      ~\llll N\JN~S CJ\lll on~UA
                                                                                                            ~FH'J etrHA,.,A. ..1 fLOfUU/1
MlKl; 'h-'Ot-.!f'~OfJ (ALJfOJlNtf,                                                                          A'lflf,\1"' S._tllH IJFRHA.~)(A
JOl!i1t O LAASOH LO.\lt\ECU.;Ul
                                                     COMMITIEE ON WAYS AN D MEANS                           H;.Nn\· l.,l;J\fH'tl,'\Nl IE)(A',
F,\r"t. 6tl.iMENAUfq OftH,OH                                                                                fOM Rf'FO Nf.W Y0'1'C
RUii KIND \V1SlO~.SIN                               1102 LuNGW.:i ATH HOUSE OFFICE 8UILIJING                r,11,<(: ~Ell Y J''Et~'litSVI VA"':iA
Stll P1\SCRCLl Jf\ tJtW J{I\S~-.                                                                            l>COflGE ~IOI DIN<,;, NOR HI C ,n l IN,\
                                                                (202) 225 3625                              JASON SMHtt, ~1ISS0UR)
DANNY I\ DAVIS llll'1CMS
LINDA T SANCHEZ CAL FUHNl.r.                                                                                IOM fltC.t S0U fll C,\ROlltl!,
BOI.\N WGGl'-tS. t,:f..VVOR<
TElllll I\ SEWELL, AlAOAMA
                                                      Wli16h111gton. w<£ 20515-0348                         OAV10 SCHl\'ElKEAT, A~IZON\
                                                                                                            Jl\C(Jl:. WAlO~St<.l, INOlANA
SUZArl DllU~N(, WA!;l•l'lu IO'I                                                                             OA!llrl lAIIOOO IUll-/015
JULY HU, CAL"Oil•-.<.•\                                  http //waysanclmcans house gu,                     a~.,o R wn:srnu<> owo
GWF:N MOORE WlSlON51U                                                                                       JOOE'f MR•NGTON, Tf.,AS
0•\tt KILOl( M01~;1,r,1                                                                                     Olle\\' HR<.,USO'I, GEORGIA
OOENOMI novtt. PE:IN'5)LVAI', A                                                                             R\,l, ~SfES rM,SMi
oor~ OEYEA \,)R(jtf,Lt\
CW1.jH f EVAM~ :>Um 'r'lV/\Hl,\                                                                             G-'f'l, At.ORL or.
Of\ ...0 St:HNf it.iUt ll1N01S                                                                                   i\l.t\OA•h STAITOltlfLltlA
rot.I !>l..lil.::,. NLW YOnK
JIM\1'' rAI 'ETfJ., C}.t,11 ORr.;IA
GH:Pf•AME l,hJnpi,;y HOfllUA
Jl:.1M\' (iUMl !. CA..lfOr-:NI/\
s11:vc,~ 11onsrono. tnVAVf.
                                                                August 8, 2019
P.RA/,lf.tt'll:WI,
   P.1••J<JIM, S AJ t-lJIHt;f ltJt1




                    The Honorable Steven T. Mnuchin
                    Secretary
                    Department of the Treasury
                    1500 Pennsylvania Avenue, NW
                    Washington, D.C . 20220

                     Dear Secretary Mnuchin,

                            As you are aware, the Committee on Ways and Means ("Committee") has legislative and
                     oversight ju1isdiction over the Department of the Treasury ("Treasury"), the [ntemal Revenue
                     Service ("IRS"), and the Federal tax laws and is currently investigating the mandatory examination
                     of Presidents' and Vice-Presidents' income tax returns outlined in the [nternal Revenue Manual
                     ("mandatory audit program").

                             On July 29, 2019, the Committee received an unsolicited communication from a Federal
                     employee setting forth credible allegations of "evidence of possible misconduct"-specifically,
                     potential "inappropriate efforts to influence" the mandatory audit program. This is a grave charge
                     that appreciably heightens the Committee's concerns about the absence of appropriate safeguards
                     as part of the mandatory audit program and whether statutory codification of such program or other
                     remedial, legislative measures are wan-anted.

                             The Committee has raised these concerns repeatedly, both in prior correspondence as well
                     as at the June l Obriefing with staff from both Treasury and the [RS. Commissioner Rettig, in his
                     May 17, 2019 letter, responded that the "concern that IRS employees could be subject to undue
                     influence when conducting mandatory audits of a President's tax returns" is "unfounded." The
                     allegations received by the Committee cast doubt on this statement and underscore the pressing
                     need for complete and meaningful oversight of the mandatory audit program.

                            ln light of the selious and urgent concerns raised by this new infonnation, I have requested,
                     under separate cover, a rolling production of certain documents and communications of specified
                     Treasury and [RS employees, with an initial production clue August 13, 2019. Thank you, in
                     advance, for your prompt attention to this matter.




                                                                                               ea), Clwirnwn
